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as C.iA 7 LOCATION CODE
(Rcv. 2!S4l
. ' 05-20047-B
05 AU Docket No. 05'20263”]3 ‘/
TERMINATING
1 Tl\/[ENT OF COUNSEL XX
USA vs. Charles Grubb and/or Checl<:
AUTHORIZATION FOR one or
DISTRIBUTION OF both
AVAILABLE PRIVATE U
FUNDS
WHEREAS, the Federal Defp_nder was appointed as counsel for the
above det`endant/petitioner, on the 25 th clay of Julv l 20 .0.5_? and
and 4th day of May 2005

WHEREAS, the court finds that funds are available from or on behalf of the above named
defendant/peitioner for payment ot`cornpensation and expenses of court-appointed counsel andf or for other
services necessary for adequate representation, and that the above defendant/petitioner is therefore
financially able to obtain counsel or to make partial payment for representation, and/or for other services
necessary for adequate representation; `

IT [S THEREFORE:

Clieclc XX O[LDER_ED that the appointment of said counsel is hereby terminated

one or

both i:l AUTI-IORIZED/DIRECTED that such funds in the amount of 3 be
paid by said defendant/petitioner or by `
as follows:

 

(enrer specific farmer ofi'epayment, i.e.. date due i'flump~sum paymenr,' Schedule and
aircounrs of each payi)ient if installment paymenti)

Defendant has retained private counsel (Mr. William "Bill" Anderson)
to handle both cases. `

Dated this n :'> @C& day of ,\20_ O{ .

- dfw

; U§ited States J'udgefl\/fagistrate
DlSTRlBUTlON: COURT’S FEL,E COURT APPOINT NSEL PERSON REPRESENTED CLER.K’S FILE

This document entered on the docket heat ln compli nca-
with ama 55 and/or 32(b) rach on '3 /~ 05

UNITED sTATE onlle COUR - WESERNT D's'TRCT 0 TESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:05-CR-20268 Was distributed by faX, mail, or direct printing on
August 31, 2005 to the parties listed.

 

 

William C. Anderson
ANDERSON LAW FIRM
369 N. Main St.
l\/lemphis7 TN 38103

Stephen C. Parker

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

